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                                           ATTACHMENT 1                                 !J\8 JUH -8            Ar1 9: 47
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                                                                                        Cl.Et:K    us nlS1 Ll!
                                    COMPLAINT FORM                                                'I/l   C . " iI
                          (for filers who are prisoners                without lawyers)

                     IN THE UNITED STATES DISTRICT COURT
             FOR THE ~-kc VI\.      DISTRICT OF J,NSloNf'n



(Full name of plaintiff(s»




        vs                                                                  Case Number:

(Full name of defendant(s»                                                     18 ~Ie              f.
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A.      PARTIES

        1.      Plaintiff is a citizen of                                                   • and is located at
                                                            (State)

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                                                (Address of prison or jail)

        (If more than one plaintiff is filing, use another piece of paper).




                                           Attachment One (Complaint) -- 1
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        2.       Defendant      Je"i\~( (\...<"~~,,s<t)i 0,. t3.A-ltr, P,. li.!-p/m                         l..J.,v.ALu. T~.'\ .t:¥b~..,..
                                                                                                             (Name)

is (if a person or private corporation) a citizen of          _~W_••
                                                                  ~'_S~'O~"~S~I'_"-~                                  _
                                                                                               (State, if known)
and (if a person) resides at                                                                                  _
                                                                                            (Address, if known)
and (if the defendant harmed you while doing the defendant's job)

worked for       W~     lOJI\   \-'16h<fl'f-IS P.M.""""",.            Cot"<clo",t..l             HC'c,I+ .•...("rt:.....
                                                           (Employer's name and address, if known)

        (If you need to list more defendants, use another piece of paper.)

B.      STATEMENT OF CLAIM

        On the space provided on the following pages, tell:
        1.    Who violated your rights;
        2.    What each defendant did;
        3.    When they did it;
        4.    Where it happened; and
        5.    Why they did it, if you know.




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 C.         JURISDICTION


            ~      I am suing for a violation of federal law under 28 U.s.c. 91331.
                                         OR

            o      I am suing under state law. The state citizenship of the plaintiff(s) is (are)
                   different from the state citizenship of every defendant, and the amount of
                   money at stake in this case (not counting interest and costs) is
                   $----

 D.         RELIEF WANTED

            Describe what you want the court to do if you win your lawsuit. Examples may
            include an award of money or an order telling defendants to do something or
            stop doing something.


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                                                 Attachment      One (Complaint)             - 4
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 E.    JURY DEMAND



       JR:(   Jury Demand - I want a jury to hear my case
                               OR

       o      Court Trial - I want a judge to hear my case



              Dated this   --/.--.L-   day of       (h A \(
                     Respectfully Submitted,




                     #37ff200
                    Plaintiff's Prisoner ID Number



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                     (Mailing Address of Plaintiff)
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                     (If more than one plaintiff, use another piece of paper),

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREP AYING THE
FILING FEE

o      I DO request that I be allowed to file this complaint without paying the filing
       fee, I have completed a request to proceed in the district court without
       prepaying the fee and attached it to the complaint.

,E(    I DO NOT request that I be allowed to file this complaint without prepaying the
       filing fee under 28 USc. 9 1915, and [have included the full filing fee with this
       complaint.




                                 Attachment   One (Complaint)   - 5
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                FULL EXPLANATION OF 1983 COMPLAINT


        The place where the incidents occurred is The Wood County Jail, 400 Market
Street, Wisconsin Rapids, WI 54481.


                                     GRIEVENCE PROCEDURES


        Yes [ filed several grievances in regards to the negligence of medical care in
which [ was receiving. I was then moved to Waupaca County for over flow purposes as
well as they believed that they had a better health care set up. I filed similar grievances. I
was fully insured for my injuries which I sustained to my back and neck, as well as the
rest of my body. I should have been allowed to have the care for which I was scheduled
to have prior to being incarcerated or at least similar care as well as follow up for which
as the record clearly indicate [ certainly needed, and was receiving prior to being
incarcerated.
        [ have copies of most of the grievances. It was not until I was sent to prison, and
able to have what is referred to as a "Medical File Review" which took place at Jackson
Correctional Institution, that [learned of the medical transfer report which was
completely false in indicating that I "NO KNOWN HEALTH CONDITION"!
        [ filed a formal complaint in the county against the Corporation Counsel, and a
Notice of Injury and Complaint at the state level. [ also had filed a very sophisticated
grievance against Waupaca County just prior to being moved to Wood County for
sentencing that I never received the disposition on due to being moved back to Wood
County for a furlough and sentencing. [ should have been allowed to receive healthcare
prior to being sent to prison as I was fully insured for the injuries I sustained in my
accident.


                                          DEFENDANTS


The list of most Defendants includes:
        1. Jeanie Christensen-jail    nurse Wood County
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       2. Dr. Butler-jail   doctor, "Correctional Health Care", Wood County
       3. Wood County Sheriff-Tom       Riecheit,
       4. Wood Jail Captain-Susan     Knapp,
       5. Wood County Jail Captain-Jesica      Terch,
       6. Wood County Jail Administrator-Tom        Ashbeck
       7. Doctor Fatokee-jail    doctor, "Correctional Health Care" Waupaca County
       8. Debbie Krueger-jail    captain Waupaca County
       9. Waupaca County Sheriff (20 15)
        10. Various other nurses within Waupaca County, and jailers at both wood and
       Waupaca County (2015).
       11. Judge Nicholas Brazeau-Circuit      Court Judge, (Wood County).
       12. Craig Lambpert-District    Attorney, (Wood County).




                                     PREVIOUS LAWSUITS
        1have filed complaints at the county level and at the state level against the same
defendants as well as notice of injury. 1 have not fully pursued the action until now
therefore there has not been any action on the matter, nor have 1 been fully aware of any
case number assignments etc. on the matter.
       The approximate dates of filing were 10/15/15,8/15/16     and 8/15/17. The
complaints filed in 2016 and 2017 were against The Department of Corrections. One was
medically related and the other was related to records issues although in a sense it
revolves around medical issues as well due to records related issues.
       1 filed a complaint in the county at the corporation counsel for which 1am not
completely sure was the proper way of filing due to my inexperience with the law and my
lack oflegal resources, although I also attempted to file complaints with the state attorney
Generals Office for the same events to give notice of my injuries. These were filed in
October and November of 20 15 from Dodge Correctional Institution.
       The claim was lack, stoppage, and denial of medical treatment. It happened at
both Wood and Waupaca counties. This matter is absolutely not resolved as the injuries I
have sustained are an ongoing result of the complaint I am filing today.
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                                    STATEMENT OF CLAIM


        I was arrested on May 18th of 20 15 after suffering a severe automobile accident at
which time I had bee thrown from the vehicle at approximately 65 mph. I was transferred
to St. Josephs Hospital via "LIFE FLIGHT" and placed in an intensive care unit.
        Upon my arrival to the hospital I received a CT scan which clearly showed the
injuries I sustained in the accident as well as injuries I had sustained just months prior.
These injuries took a 69 PAGE TRAUMA REPORT to record which gave a very in
depth and detailed description of what was physically wrong with me.
       The Wood County Jail and there affiliate health care providers had complete
access to these record as well as all records from my psychiatric, and psychological files
within the Wood County Unified Services Department as they came to see me once I was
released and taken DIRECTLY to the jail via Sheriff Department deputy. In fact Dr.
Butler actually began prescribing me citalopram (anti-depressant medication) once she
spoke to Dr. Hadfield from Unified Services.
       The importance behind my psychiatric record is that I had testing done which
clearly shows what medication I digest and what medication will work better given my
general make-up. This testing is referred to as gene-sight testing which was performed
through the Mayo Clinic out of La Crosse.
        The Wood County Jail nurse Jeanie Christensen sent me to dodge with a "Health
Care Transfer Summary" that read "NO KNOWN HEALTH CONDITIONS". This is
after being furloughed to UW Madison Hospital for spinal injuries which are so obvious
that any child can clearly see need care.
        Furthermore, the 69 page trauma report was never sent with me and it was not
until Dr. Martin himself obtained from St. Joseph's Hospital in Marshfield that he was
able to review the extent of my injuries and provide adequate care. Dr. Martin was a
physician at Jackson Correctional where I was sent after leaving Dodge
Correctional.
        Not only had I filed numerous grievances against the jail in regards to the health
care that I wasn't receiving, it was clear to the court that I was in need of serious medical
..
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     procedures and there was jail officials in attendance at my court proceedings where the
     care for my injuries was discussed. This information was easy enough to for any lay
     person to translate. The courts view was that I would receive better care while in prison.
     An idea which is ludicrous as can be viewed by the record and had that been the idea then
     there should have been even more emphasis on sending me with all of the records for me
     to obtain that "Better Health Care".
            Dr. Butler and Nurse Christensen read doctor Ebert's report and recommendations
     when I left Madison Clinic and it was clear enough that I was to receive additional care
     which was to include MRI's, medication therapy, and possible surgical intervention. In
     fact the Wood County jail placed me on gabipentin which was prescribed by Dr. Ebert.
     There is absolutely no reasonable excuse for sending me to Dodge with a Health Transfer
     Summary that read No Known Health Condition.
            To completely frustrate the matter at hand, and as well what lays at the core of
     anxiety for which I find it hard if not impossible to recuperate, is that I had previously
     scheduled appointments in Madison to address some of the issues with my spine from
     previous injuries. The jail staff was fully aware of these injuries as well as the court, due
     to the fact that I filed grievances all the way to the judge himself in an attempt to be
     transported to a May 26th, and May 28th appointment for which I was not transported to.
     Instead I laid in a cell with a broken sternum, seven broken ribs, a broken back, severely
     injured arm, amongst other injuries, without even being taken to my appointments for the
     injuries which I needed serious procedures and care.
            Now I have growths which have increased in size causing severe nerve damage
     and loss of feeling to all four of my extremities. I have been forced to go through this
     incarceration without the care for which I was fully insured, scheduled and prepared to
     undergo prior to ever being incarcerated at the Wood County Jail.
            While in their facility as well as when I was housed in Waupaca County Jail, (the
     facility at which I was under contract to be housed at), there was never a record of my
     spinal injuries sent and or received nor was there any care received for which it is
     absolutely clear I was in need of and am in continued need of to this date.
             Due to the lack of records being sent to the Wisconsin Department of Corrections
     I was placed on duloxitille a medication commonly referred to as Cymbalta. This
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medication is also used to treat depression and is listed in the use with extreme caution
side of my GENE-SIGHT test which was easily accessible through the Unified Services
Department of Wood County as they treated me at the Wood County Jail and in fact
made medication referrals to Dr. Butler who is or was employed through Correctional
Health Care and contracted through the Wood County Jail.
       This has led to a significant upset in medication treatment and therapy since being
placed on different medications as well as the fact that I have suffered from severe
serotoxins due to the wrong medication combinations.
       There is no reason for the Wood County Sheriffs Department not transporting me
to appointments that were scheduled prior to me being incarcerated, not supplying neither
the Waupaca County Jail; nor the Wisconsin Department of Corrections with a full report
of all of the injuries I sustained to not only my sternum, ribs, chest, head, back, neck, and
pelvic region, but of THE MOST SUBSTANTIAL             AFFECT,     providing The
Wisconsin Department of Corrections with a "Health Transfer Summary". that reads NO
KNOWN      HEALTH CONDITIONS!


                              DEFENDANT         CONNECTION       LIST




       The defendants are connected to the case in the following ways:
               I. Jeanie Christensen in her capacity as "The Wood County Jail Nurse"
                   and in her person for her lack of treatment, denial of treatment, cruel
                   and unusual treatment, falsely producing a document claiming that
                   there was no known health conditions, for failing to deliver inmate
                   health records as legally responsible for doing, and stopping medical
                   treatment once prescribed.


               2. Dr. Butler in her capacity as "The Wood County Jail Doctor",
                   employed at "Correctional Health Care" and contracted to work at The
                   Wood County Jail. As well I wish to pursue action against her
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            in her personal capacity for advising Jeanie Christensen of her
            decisions, conducting a physical exam and not requesting proper
            treatment for injuries, not seeking treatment for serious medical needs,
            stopping medical treatment, cruel and unusual punishment, deliberate
            indifference for not treating injuries that a child or any reasonable
            person could easily recognize were in need of serious treatment, and
            stopping medical treatment once prescribed.


         3. Dr. Fatokee in his capacity as the "Waupaca County Jail Doctor"
            employed at Correctional Health Care and contracted to work at the
            Waupaca County Jail and converse with Dr. Butler over health care
            provided and or not provided. As well I wish to pursue action against
            him in his personal capacity for cruel and unusual punishment,
            deliberate indifference, not seeking medical treatment for serious
            needs, not treating serious medical need which a child or any
            reasonable person could see were in need of serious medical attention.


         4. Wood County Circuit Judge Nicholas J. Brazeau for acting failing to
            act on a serious health need which was clearly in need of serious
            medical attention, stopping medical treatment once prescribed, clearly
            acting out of what he should have known was violating my
            constitutional rights as there was documentation before the courts and
            the judge claimed to be personally aware of the doctor by reputation.


         4. District attorney Craig Lambpert and Assistant District Attorney Sarah
            Keenas for failing to act when they rightfully should have known they
            were violating my constitutional rights to health care.



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                                                                            Sincerely,
                                                                            ~
                                                  ~
                                         Michael Anthony Nieman (Inmate No. 378700)

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..




              The fact that Wood County sent me to Dodge Correctional Institution with an
      "Inmate Transfer Summary" that reported that I had "NO KNOWN HEALTH
      CONDITION" is absolutely reckless in the matter of handling ofa chronically injured
      individual in need of serious medical procedures.




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